Case 1:19-cv-03599-GMH Document 19-41 Filed 08/17/21 Page 1 of 3




EXHIBIT 39
2/26/2021              Case 1:19-cv-03599-GMH Document 19-41 Filed 08/17/21 Page 2 of 3
                                             Thread                                                                                Search Twitter
            Explore                           Masih Alinejad         @AlinejadMasih · Aug 3, 2020
                                              Important THREAD                                                              New to Twitter?
                                                                                                                            Sign up now to get your own personalized timeline!
            Settings                          1-Imagine, you wake up one day to find out that there're posters, a Twitter
                                              storm, & threats by officials of Islamic Republic of Iran calling for your
                                              kidnapping. How would you feel? Iʼll show how this regime uses                                     Sign up
                                              assassination& hostage diplomacy to silence us
                                                                                                                            Relevant people
                                                                                                                                      Masih Alinejad                 Follow
                                                                                                                                      @AlinejadMasih
                                                                                                                                      Iranian journalist and activist.
                                                                                                                                      Founder of #United4Navid,
                                                                                                                                      #WhiteWednesdays &
                                                                                                                                      #MyCameraIsMyWeapon
                                                                                                                                      #MyStealthyFreedom. My Email
                                                                                                                                      address: masih.author@gmail.com

                                                                                                                            Whatʼs happening
                                                  91                 935                 2.3K
                                                                                                                            Entertainment · This morning
                                              Masih Alinejad          @AlinejadMasih · Aug 3, 2020                          German radio host faces
                                              2-Do you know why these intimidation campaign started against me? Last        criticism for on-air tirade
                                              Saturday, Islamic Republic said they'd kidnapped an Iranian-American          against South Korean pop group
                                              dissident Jamshid Sharmahd, while he was in Tajikistan & showed his           BTS, with fans condemning the
                                              pictures in blindfolds. This act provoked them to attack me.                  remarks as racist and anti-
                                                                                                                            Asian
                                                                                                                            Trending with #RacismBayern3,
                                                                                                                            #MatuschikHasToLeave
                                                                                                                            Trending in United States
                                                                                                                            DreamXD
                                                                                                                            7,732 Tweets
                                                                                                                            Entertainment · Trending
                                                                                                                            james charles
                                                                                                                            24.3K Tweets
                                                                                                                            US news · Yesterday
                                                                                                                            US releases report concluding
                                                  5                  99                  485                                Saudi Crown Prince Mohammed
                                                                                                                            bin Salman approved the
                                                                                                                            operation to ‘capture or killʼ
                                              Masih Alinejad         @AlinejadMasih · Aug 3, 2020                           Jamal Khashoggi
                                              3-Not only the Twitter Storm of Iranian cyber army, but also posters made     Trending with Khashoggi, Salman
                                              by official newspapers of the Iranian National Television wrote: “Masih be
                                              ready! Youʼre the next to be kidnapped”                                       COVID-19 · LIVE
                                                                                                                            COVID-19: News and updates
                                                                                                                            for Maryland
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                                                  3                  96                  467
                                              Masih Alinejad
                                              @AlinejadMasih
                                      Replying to @AlinejadMasih
                                      4) Last October, journalist Ruhollah Zam, founder of
                                      dissident Telegram channel Amad News was lured to Iraq
                                      and kidnapped to Tehran. Last month after a brief show
                                      trial, he was sentenced to death. Right after Zamʼs arrest,
                                      regime allies warned, Iʼd was the next on their list.
https://twitter.com/AlinejadMasih/status/1290291711692795905                                                                                                                     1/4
2/26/2021              Case 1:19-cv-03599-GMH Document 19-41 Filed 08/17/21 Page 3 of 3
                                                                                                                             Search Twitter
            Explore
            Settings




                                      10 21 AM · Aug 3, 2020 · Twitter Web App
                                      83 Retweets 414 Likes


                                              Masih Alinejad          @AlinejadMasih · Aug 3, 2020
                                              Replying to @AlinejadMasih
                                              5-Rouhollah Zam & Jamshid Sharmahd were physically in a 3rd country
                                              close to Iran. Also, Masoud Molavi, another dissident, was killed in Turkey
                                              in 2019. According to a Reuters, 2 intelligence officers at Iranʼs consulate
                                              in Turkey instigated the killing.




                                                Exclusive: Iranian diplomats instigated killing of dissident in Istanbul,…
                                                Two intelligence officers at Iran's consulate in Turkey instigated the
                                                killing last November of an Iranian dissident in Istanbul who criticize…
                                                    reuters.com
                                                  2                    70                  345




https://twitter.com/AlinejadMasih/status/1290291711692795905                                                                                  2/4
